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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                            NO. MJ10-271

10                                 Plaintiff,

11          v.                                            DETENTION ORDER
12   JONATHAN TAVARES,
13
                                   Defendant.
14

15   Offense charged:
16          Count 1:        Conspiracy to Distribute Oxycodone, in violation of 21 U.S.C. §§
17                          841(a)(1), 841(b)(1)(C) and 846

18          Count 2-4:      Distribution of Oxycodone, in violation of 21 U.S.C. §§ 841(a)(1),
                            841(b)(1)(C), and 18 U.S.C. § 2
19
     Date of Detention Hearing: June 29, 2010
20
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
21
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
22
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
24
                    defendant is a flight risk and a danger to the community based on the nature of
25
                    the pending charges. Application of the presumption is appropriate in this case.
26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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           2.    Defendant has on-going substance abuse problems.
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           3.    Defendant has a substantial history of failures to appear.
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           4.    Defendant has a history of failing to abide by the terms of supervision and court
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                 orders, indicating an unwillingness or inability to comply with supervision.
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           5.    Three firearms and a large amount of ammunition seized from defendant’s
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                 residence at the time of arrest. In addition, a magazine for an assault rifle was
 7
                 also found.
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           6.    Defendant made statements of his intent to flee if pulled over by police.
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           7.    There are no conditions or combination of conditions other than detention that
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                 will reasonably assure the appearance of defendant as required or ensure the
11
                 safety of the community.
12
           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
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                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
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                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                 counsel;
19
           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
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24   //

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26   //


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
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                 Pretrial Services Officer.
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           DATED this 29th day of June, 2010.
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 6                                              A
                                                JAMES P. DONOHUE
 7                                              United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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